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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

 In re:                                                Chapter 11 Cases

 LIBERTY POWER HOLDINGS, LLC, et                       Case No.: 21-13797-SMG
 al.,
                                                       (Jointly Administered)
       Debtors.
 ____________________________________/

                          PHILIP J. VON KAHLE AS ASSIGNEE OF
                    LIBERTY POWER CORPORATION’S EX PARTE MOTION
                TO ALLOW ATTORNEY DANA QUICK TO APPEAR BY ZOOM AT
                 THE HEARING CURRENTLY SCHEDULED FOR MAY 24, 2023

           Philip J. von Kahle, in his capacity as the Assignee (the “Assignee”) for the benefit of

creditors of Liberty Power Corporation (“LPC”), by and through undersigned counsel, hereby files

this Ex Parte Motion to Allow Attorney Dana Quick to Appear by Zoom at the Hearing Currently

Scheduled for May 24, 2023 (the “Motion”), to permit Dana Quick to appear remotely via Zoom

at the hearing currently scheduled for May 24, 2023 at 1:30 p.m. (Prevailing Eastern Time) (as

may be adjourned or continued, the “Hearing”).             In support of the Motion, the Assignee

respectfully represents as follows:

                                             I. BACKGROUND

           1.      On April 20, 2021 (the “Petition Date”), Liberty Power Holdings, LLC (the

“Debtor”) filed a voluntary petition for relief pursuant to Chapter 11 of Title 11 of the U.S. Code

commencing the instant bankruptcy case.

           2.      On May 14, 2021, LPC executed an assignment of substantially all of its assets to

the Assignee for the benefit of creditors, pursuant to Florida Statute, Chapter 727. On May 19,

2021, the Assignee commenced the case styled In re the Assignment for the Benefit of Creditors



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of Liberty Power Corp., LLC, Case No. CACE-21-010056, pending in the Seventeenth Judicial

Circuit, in and for Broward County, Florida (the “Assignment Case”).

           3.     On April 10, 2023, the Debtor filed Debtor’s Motion Pursuant to Section 105(a) of

the Bankruptcy Code and Fed. R. Bankr. P. 9019 for Entry of an Order Approving the Terms of a

Settlement By and Between the Debtors and the D&O Parties (ECF No. 871) (the “D&O Motion”)

and Debtor’s Motion Pursuant to Section 105(a) of the Bankruptcy Code and Fed. R. Bankr. P.

9019 for Entry of an Order Approving the Terms of a Settlement By and Among the Debtors,

Boston Energy Trading and Marketing, LLC, and Peter S. Kaufman (ECF No. 872) (the “Kaufman

Motion,” and together with the D&O Motion, the “Motions”).

           4.     On April 24, 2023, the Court issued its Notice of Hearing (ECF No. 882), setting

the Hearing on the Motion for May 24, 2023, at 1:30 p.m.

           5.     The Assignee intends to file an objection to the Motion and will do so timely under

the Local Rules.

           6.     Pursuant to the Court’s Requirements and Procedures for Remote Attendance at

Hearings Before Judge Grossman, the Assignee now filing a motion to permit Ms. Quick to appear

via Zoom at that Hearing.

                          II. REQUESTED RELIEF AND BASIS THEREFOR

           7.     Pursuant to Section I(d) of Your Honor’s Requirements and Procedures for Remote

Attendance at Hearings, an ex parte motion requesting leave to attend remotely for good cause

must be filed not later than seven days before the hearing unless there are unforeseen

circumstances.

           8.     The Assignee submits that this Motion is being filed no later than seven days before

the Hearing and good cause exists to grant the Motion. Ms. Quick resides outside of the State of

Florida and will be outside of the State of Florida on the day of the Hearing. Accordingly, the
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Assignee moves, on an ex parte basis, for entry of an Order substantially in the form annexed

hereto as Exhibit A authorizing Ms. Quick to appear at the Hearing via Zoom.

           WHEREFORE, the Assignee respectfully requests entry of an Order in the form annexed

hereto as Exhibit A (i) authorizing Ms. Quick to appear remotely via Zoom and (ii) granting such

other and further relief as is just and proper.


           Dated: May 17, 2023

                                                  Respectfully submitted,

                                                  BAST AMRON LLP
                                                  Counsel for Assignee, Philip J. von Kahle for the
                                                  Benefit of Creditors of Liberty Power Corp., LLC
                                                  One Southeast Third Ave., Suite 2410
                                                  Miami, Florida 33131
                                                  Telephone: 305.379.7904
                                                  Facsimile: 786.206.8740
                                                  Email: jbast@bastamron.com
                                                  Email: dquick@bastamron.com

                                                  By: /s/       Dana R. Quick
                                                        Jeffrey P. Bast (FBN 996343)
                                                        Dana R. Quick (FBN 074402)




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of May, 2023, true and correct copies of the foregoing
were served electronically via the Court’s electronic filing system on all parties registered to
receive notifications via CM/ECF in this case.

                                                             /s/ Dana R. Quick
                                                             Dana R. Quick, Esq.




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                                      EXHIBIT A




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                                                                                    [PROPOSED ORDER]




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov


    In re:                                                  Chapter 11 Cases

    LIBERTY POWER HOLDINGS, LLC, et                         Case No.: 21-13797-SMG
    al.,
                                                            (Jointly Administered)
          Debtors.
    ____________________________________/

                ORDER GRANTING PHILIP J. VON KAHLE AS ASSIGNEE OF
                  LIBERTY POWER CORPORATION’S EX PARTE MOTION
              TO ALLOW ATTORNEY DANA QUICK TO APPEAR BY ZOOM AT
               THE HEARING CURRENTLY SCHEDULED FOR MAY 24, 2023

             THIS MATTER having come before the Court, without hearing, upon Philip J. von Kahle

as Assignee of Liberty Power Corporation’s Ex Parte Motion to Allow Attorney Dana Quick to

Appear by Zoom at the Hearing Currently Scheduled for May 24, 2023 [ECF No. ___] (the

“Motion”).1 The Court, having considered the Motion, and being otherwise fully advised in the

premises, it is




1
    Terms capitalized but not defined herein shall have the meanings ascribed to them in the Motion.

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           ORDERED that:

           1.     The Motion is GRANTED.

           2.     Dana Quick is permitted to appear remotely via Zoom at the Hearing currently

scheduled for May 24, 2023, at 1:30 p.m. (Prevailing Eastern Time).

                                                ###
Submitted by:
Dana R. Quick, Esq.
BAST AMRON LLP
One Southeast Third Avenue, Suite 2410
Miami, Florida 33131
Telephone: (305) 379-7904
Email: dquick@bastamron.com


Copies to:
Dana R. Quick, Esq.

        Dana Quick shall serve a copy of this order on all parties in interest, and shall file a
certificate of service thereof.




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